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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. 14-CIV-22652-BLOOM/Valle


  ROTHSCHILD STORAGE RETRIEVAL
  INNOVATIONS, LLC,
  a Florida limited liability company,

         Plaintiff/Counter-Defendant,

  v.

  SONY MOBILE COMMUNICATIONS (USA) INC.,
  a Delaware corporation,

        Defendant/Counter-Plaintiff.
  _______________________________________/

                    ORDER ON DEFENDANT’S MOTION TO TRANSFER

         This cause is before the Court on Defendant Sony Mobile Communications (USA) Inc.’s

  Motion to Transfer pursuant to 28 U.S.C. § 1404(a) (“Motion”), ECF No. [30], filed on

  November 10, 2014, which seeks transfer of this matter to the United States District Court for the

  Northern District of California. On December 5, 2014, Plaintiff Rothschild Storage Retrieval

  Innovations, LLC (“Plaintiff”) filed its Response, ECF No. [42], and Defendant Sony Mobile

  Communications (USA) Inc. (“Sony Mobile”) filed its Reply, ECF No. [44], on December 15,

  2014. The Court has reviewed the Motion, all supporting and opposing filings, and the record in

  this case, and is otherwise fully advised as to the premises. For the reasons that follow, the

  Motion is granted.

                                        I. BACKGROUND

         On July 3, 2014, Plaintiff acquired U.S. Patent No. 8,437,797 (“the ’797 Patent”), titled

  “Wireless Image Distribution System and Method.” See Patent Assignment, ECF No. [30-14].

  On July 16, 2014, a mere two weeks after the patent’s acquisition, Plaintiff commenced this
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  action alleging infringement of the ‘797 Patent by virtue of Sony Mobile’s continued “making,

  using, selling, offering to sell, and/or importing into the United States products that embody or

  practice the apparatus and/or method covered by one or more claims of the ‘797 Patent . . . .”

  See Compl., ECF No. [1] at ¶¶ 11, 15. The allegedly infringing functionalities which are

  contained within Android devices such as Sony’s Xperia Z1S and Xperia TL smartphones (the

  “Accused Products”), include “sharing a group of photos based on their geographic location

  within their ‘Locations’ album to another mobile device.” Id. at ¶ 15. Plaintiff is a Florida

  limited liability company organized and existing under the laws of the State of Florida with its

  principal place of business located in Bay Harbor Islands, Florida. See Compl., ECF No. [1] at

  ¶ 1. Sony Mobile is a Delaware corporation licensed to do business in the State of Florida with

  its principal place of business in Atlanta, Georgia. Id. at ¶ 2. According to the Complaint, venue

  is proper in the Southern District of Florida because Sony Mobile “has committed acts of

  infringement in this District giving rise to this action and does business in this District, including

  making sales and/or providing service and support for their respective customers in this District.”

  Id. at ¶ 8.

            Simultaneously with the filing of this action, Plaintiff filed six additional lawsuits in this

  District against various technology companies operating in the mobile phone industry claiming

  infringement of the ‘797 Patent through similar and/or related functionalities.1 Plaintiff has




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      The seven related cases, including this action (listed first), are:

            1. Rothschild Storage Retrieval Innovations, LLC v. Sony Mobile Communications
               (USA) Inc., 1:14-cv-22652-BB (“Sony Case”);
            2. Rothschild Storage Retrieval Innovations, LLC v. Samsung Electronics Co., Ltd., et
               al., Case No. 1:14-cv-22653-CMA (“Samsung Case”);
            3. Rothschild Storage Retrieval Innovations, LLC v. LG Electronics, Inc., et al., Case
               No. 1:14-cv-22654-DPG (“LG Case”);
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  sought consolidation of these actions for claim construction purposes, alleging that all involve

  common questions of law and fact. See Mot. to Consolidate, ECF No. [28]. In the instant

  Motion, Sony Mobile seeks to transfer this matter to the Northern District of California, asserting

  that this alternative venue is “overwhelmingly [] more convenient,” and stating in support that

  (1) Sony Mobile’s relevant witnesses are located in California, (2) numerous third-party

  witnesses are also in California, and (3) Plaintiff’s ties to the forum are weak at best. See Mot.,

  ECF No. [30]. In fact, similar motions have been filed in five of the six other actions in this

  District seeking to transfer their respective actions to the Northern District of California.2

                                       II. LEGAL STANDARD

         The transfer statute, 28 U.S.C. § 1404(a), which embodies a codification and revision of

  the forum non conveniens doctrine, see Piper Aircraft Co. v. Reyno, 454 U.S. 235, 253 (1981),

  provides that “[f]or the convenience of parties and witnesses, in the interest of justice, a district

  court may transfer any civil action to any other district or division where it might have been

  brought.” “Section 1404(a) reflects an increased desire to have federal civil suits tried in the

  federal system at the place called for in the particular case by considerations of convenience and

  justice.” Van Dusen v. Barrack, 376 U.S. 612, 616 (1964). The statute grants broad discretion to

  the district court. See Osgood v. Disc. Auto Parts, LLC, 981 F. Supp. 2d 1259, 1263 (S.D. Fla.


         4. Rothschild Storage Retrieval Innovations, LLC v. HTC Corporation, et al., Case No.
            1:14-cv-22655-KMW (“HTC Case”);
         5. Rothschild Storage Retrieval Innovations, LLC v. Nokia Corporation, Case No. 1:14-
            cv-22657-DPG (“Nokia Case”);
         6. Rothschild Storage Retrieval Innovations, LLC v. Apple Inc., Case No. 1:14-cv-
            22658-MGC (“Apple Case”); and
         7. Rothschild Storage Retrieval Innovations, LLC v. Motorola Mobility LLC, Case No.
            1:14-cv-22659-RNS (“Motorola Case”).
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    Motions to transfer have been filed in the Samsung Case, ECF No. [43], LG Case, ECF No.
  [39], HTC Case, ECF No. [20], Apple Case, ECF No. [16], and Motorola Case. ECF No. [35].
  Thus, only the Nokia Case defendants have not sought transfer.
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  2013) (stating that the “standard for transfer under 28 U.S.C. § 1404(a) leaves much to the broad

  discretion of the trial court”) (citation omitted); see also Piper Aircraft, 454 U.S. at 253 (noting

  that “[d]istrict courts were given more discretion to transfer under § 1404(a) than they had to

  dismiss on grounds of forum non conveniens”) (citation omitted); Motorola Mobility, Inc. v.

  Microsoft Corp., 804 F. Supp. 2d 1271, 1275 (S.D. Fla. 2011) (“The Court has broad discretion

  in determining whether these factors suggest that transfer is appropriate.”). The party seeking

  transfer bears the burden of demonstrating entitlement. In re Ricoh Corp., 870 F.2d 570, 573

  (11th Cir. 1989) (“[I]n the usual motion for transfer under section 1404(a), the burden is on the

  movant to establish that the suggested forum is more convenient.”).

         In determining the appropriateness of transfer, courts employ a two-step process. See

  Osgood, 981 F. Supp. 2d at 1263 (citing Abbate v. Wells Fargo Bank, Nat. Ass’n, 09–62047–Civ,

  2010 WL 3446878, at *4 (S.D. Fla. Aug. 31, 2010)); Precision Fitness Equip., Inc. v. Nautilus,

  Inc., No. 07-61298-CIV-COOKE, 2008 WL 2262052, at *1 (S.D. Fla. May 30, 2008) (citing

  Thermal Techs., Inc. v. Dade Serv. Corp., 282 F. Supp. 2d 1373, 1376 (S.D. Fla. 2003);

  Jewelmasters, Inc. v. May Dep’t Stores, 840 F. Supp. 893, 894-95 (S.D. Fla. 1993) (citing Cont’l

  Grain Co. v. The Barge FBL-585, 364 U.S. 19 (1960))). First, the district court is tasked with

  determining whether the action could have been pursued in the venue to which transfer is sought.

  See Osgood, 981 F. Supp. 2d at 1263 (citing Abbate, 2010 WL 3446878, at *4). Second, “courts

  assess whether convenience and the interest of justice require transfer to the requested forum.”

  Id. (citation omitted). In analyzing this second prong, the Court applies several factors:

                 (1) the convenience of the witnesses; (2) the location of relevant
                 documents and the relative ease of access to sources of proof; (3)
                 the convenience of the parties; (4) the locus of operative facts; (5)
                 the availability of process to compel the attendance of unwilling
                 witnesses; (6) the relative means of the parties; (7) a forum’s
                 familiarity with the governing law; (8) the weight accorded a

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                 plaintiff’s choice of forum; and (9) trial efficiency and the interests
                 of justice, based on the totality of the circumstances.

  Motorola Mobility, 804 F. Supp. 2d at 1275-76 (quoting Meterlogic, Inc. v. Copier Solutions,

  Inc., 185 F. Supp. 2d 1292, 1299 (S.D. Fla. 2002) and citing Manuel v. Convergys Corp., 430

  F.3d 1132, 1135 n.1 (11th Cir. 2005)). Traditionally, a plaintiff’s choice of forum is accorded

  considerable deference, In re Ricoh, 870 F. 2d at 573 (citing Gulf Oil Corp. v. Gilbert, 330 U.S.

  501, 508 (1947)), and, “[u]ltimately, transfer can only be granted where the balance of

  convenience of the parties strongly favors the defendant.” Steifel Labs., Inc. v. Galderma Labs.,

  Inc., 588 F. Supp. 2d 1336, 1339 (S.D. Fla. 2008) (citing Robinson v. Giarmarco & Bill, P.C., 74

  F.3d 253, 260 (11th Cir. 1996)). With regard to the first prong, an action “might have been

  brought” in any court that has subject-matter jurisdiction, where venue is proper, and where the

  defendant is amenable to process issuing out of the transferee court.           Windmere Corp. v.

  Remington Prods., Inc., 617 F. Supp. 8, 10 (S.D. Fla. 1985) (citing 15 C. Wright, A. Miller and

  E. Cooper, Federal Practice and Procedure § 3845 (1976)).

                                          III. DISCUSSION

         The parties do not dispute that this matter “might have been brought” in the Northern

  District of California and the Court concurs. See Mot., ECF No. [30] at 9; Resp., ECF No. [42]

  at 6. Accordingly, the Court’s examination focuses on the second inquiry: whether convenience

  and the interest of justice support transfer. As noted, in determining this, the Court weighs

  several factors. See Motorola Mobility, 804 F. Supp. 2d at 1275-76 (citation omitted).

         A.      Convenience of the Parties, Witnesses, and Availability of Process

         Sony Mobile first contends that the convenience of the parties and witnesses weighs

  heavily in favor of transfer. Although Sony Mobile is headquartered in Atlanta, Georgia, a

  venue significantly closer to this District than the Northern District of California, see Lazzardi

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  Decl., ECF No. [30-1] at ¶ 4, its additional facilities in San Diego and San Mateo, California, are

  primarily responsible for its mobile operations and related software development.              See id;

  Hilding Decl., ECF No. [30-2] at ¶ 4. Indeed, the Atlanta headquarters serves only as an

  administrative facility, merely providing marketing and other administrative functions necessary

  to the operation of the company. See Lazardi Decl., ECF No. [30-1] at ¶ 4. Details surrounding

  the integration of the camera and photo album functionality in the Accused Products is created

  and developed through Sony Mobile’s Applications and Service Development group, which is

  comprised of a fourteen-member team located solely in San Mateo, California. See Hilding

  Decl., ECF No. [30-2] at ¶¶ 5-7. Other key witnesses are also located in the Northern District of

  California.   Sony Mobile’s Head of Platform Software, Stephen Lee, an individual with

  knowledge of how the Accused Products operate within networks, including the nature of photo

  sharing across devices, is located in San Mateo. See Hilding Decl., ECF No. [30-2] at ¶ 9.

         On the other hand, besides the corporate Plaintiff itself and the inventor of the ‘797

  Patent, very few witnesses are located in this District, and those referenced by Plaintiff do not

  appear to be directly related to the ultimate issue of infringement. Plaintiff stresses that it will be

  incredibly inconvenient for its two corporate executives to testify in California due to personal

  issues that need not be discussed here. While the Court is sympathetic to the circumstances

  creating this inconvenience, the Court is not persuaded that the convenience of these two

  witnesses weighs in favor of denying transfer. Plaintiff points to two corporate executives,

  including the inventor, who will be offered to testify to the value of the ‘797 Patent and damages,

  as well as testifying to Plaintiff’s “business dealings and other licensing issues.” See ECF No.

  [42] at 20. These witnesses, while arguably relevant to the certain issues in the case, do not

  appear to be relevant to the accusations contained in the Complaint. See Microspherix LLC v.



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  Biocompatibles, Inc., No. 9:11-CV-80813-KMM, 2012 WL 243764, at *3 (S.D. Fla. Jan. 25,

  2012) (noting that the Court does not simply tally the number of witnesses on each side, but

  rather, “the witnesses’ actual knowledge relative to the instant dispute, and the location and

  convenience of the witnesses are [the] important considerations when evaluating whether

  transfer is justified”) (citations omitted). Thus, their presence in the current forum is accorded

  little weight. Moreover, the fact that additional Sony Mobile witnesses may be located in

  Atlanta or, alternatively, Raleigh-Durham, North Carolina, provides little support for the denial

  of transfer.   The individuals responsible for the development and creation of the Accused

  Products, and, therefore, those with the most knowledge of the allegedly infringing

  functionalities, reside in Northern California.

         Additionally, potential third-party witnesses can be found in the transferee district, yet

  another fact supporting transfer. The Accused Products are based on Google, Inc.’s Android

  operating system, and, therefore, the allegedly infringing functionalities rely on the Android

  software for many features. See Hilding Decl., ECF No. [30-2] at ¶ 8. Google, Inc. and its

  related witnesses are located in Mountain View, California, in the Northern District of

  California. See id. This Court has noted that “[t]he convenience of non-party witnesses is an

  important, if not the most important, factor in determining whether a motion for transfer should

  be granted.” Cellularvision Tech. & Telecommunications, L.P. v. Cellco P’ship, No. 06-60666-

  CIV, 2006 WL 2871858, at *3 (S.D. Fla. Sept. 12, 2006) (citing Meterlogic, Inc. v. Copier

  Solutions, Inc., 185 F. Supp. 2d 1292, 1301 (S.D. Fla. 2002)). Moreover, potentially helpful

  academics and other individuals with knowledge pertaining to the prior art reside in Northern




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  California.3 The issuance of subpoenas and power to enforce these witnesses’ attendance at trial

  is vested in the Northern District of California. This District lacks that authority.

         In a case very analogous to the one at bar, the Honorable Judge Donald M. Middlebrooks

  recently found that a related plaintiff’s limited number of in-forum witnesses would not preclude

  transfer where a substantial portion of defendant’s witnesses were located in the Northern

  District of California.   See Rothschild Digital Media Innovations, LLC v. Sony Computer

  Entertainment America LLC, No. 14-cv-22134-MIDDLEBROOKS, ECF No. [22] (S.D. Fla.

  Aug. 28, 2014).4 Similarly, here, this factor weighs heavily in favor of transfer.

         B.      Access to Sources of Proof, Locus of Operative Facts, and Plaintiff’s Choice

         Undoubtedly, and contrary to Plaintiff’s assertions, the bulk of evidence regarding the

  Accused Products exists in Northern California, where the products were created. However,

  given the ease with which documents may be transmitted in the 21st Century, courts regularly



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    Plaintiff cites to Wi-Lan USA, Inc. v. Alcatel-Lucent USA Inc., No. 12-23568-CIV, 2013 WL
  358385, at *4 (S.D. Fla. Jan. 29, 2013) for the blanket proposition that this Court has held that
  “[t]he most important third-party witnesses are the inventors and the attorneys.” Ostensibly,
  Plaintiff’s citation in this regard is intended to assign great significance to the presence of the
  original prosecuting attorneys in Southern Florida. Yet, as presented, Plaintiff’s quotation is
  disingenuous. The Court in Wi-Lan did not hold that inventors and attorneys are always the most
  important third party witnesses, but rather, under the factual circumstances presented therein, and
  because the defendant had failed to present any witnesses who would be assisted by transfer, the
  convenience factor did not favor transfer. See id. Absent additional authority supporting this
  proposition, the Court respectfully declines to accord the residence of the original prosecuting
  attorneys the weight Plaintiff desires. Furthermore, Plaintiff has failed to identify how the
  prosecuting attorneys will be of extraordinary significance in this matter.
  4
     In an attempt to discount Judge Middlebrooks’ findings in Rothschild Digital Media
  Innovations, Plaintiff contends that the “roles are reversed,” as Plaintiff has identified several
  key witnesses and Sony Mobile has “sparingly identified any witnesses with knowledge of
  infringement and damages located in the Northern District of California.” See Resp., ECF No.
  [42] at 7-8. The Court disagrees. As noted, Sony Mobile has identified numerous witnesses in
  the Northern District of California that directly relate to the issue of infringement, whereas
  Plaintiff has only identified a few individuals, namely, the inventor and original prosecuting
  attorneys, whose relation to the question of infringement remains unclear.
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  determine the location of relevant documents to be of little weight. See, e.g., Microspherix LLC,

  2012 WL 243764, at *3 (“In a world with fax machines, copy machines, email, overnight

  shipping, and mobile phones that can scan and send documents, the physical location of

  documents is irrelevant.”). Therefore, this factor remains neutral.

         Typically, “[t]he plaintiff’s choice of forum should not be disturbed unless it is clearly

  outweighed by other considerations.” Robinson, 74 F.3d at 260 (citation omitted).        However,

  “‘where the operative facts underlying the cause of action did not occur within the forum chosen

  by the Plaintiff, the choice of forum is entitled to less consideration.’” Wi-LAN USA, Inc. v.

  Apple Inc., No. 12-CV-24318-KMM, 2013 WL 1343535, at *4 (S.D. Fla. Apr. 2, 2013) (quoting

  Motorola Mobility, 804 F. Supp. 2d at 1276). “In patent infringement cases, the bulk of the

  relevant evidence usually comes from the accused infringer. Consequently, the place where the

  defendant’s documents are kept weighs in favor of transfer to that location.” In re Genentech,

  Inc., 566 F.3d 1338, 1345 (Fed. Cir. 2009) (quoting Neil Bros. v. World Wide Lines, Inc., 425 F.

  Supp. 2d 325, 330 (E.D.N.Y. 2006)). Further, various district courts have determined that the

  “center of gravity” for a patent infringement case is “where the accused product was designed

  and developed.” See, e.g., Motorola Mobility, Inc., 804 F. Supp. 2d at 1276 (citing Trace-Wilco,

  Inc. v. Symantec Corp., No. 08–80877, 2009 WL 455432, at *2-3 (S.D. Fla. Feb. 23, 2009)

  (collecting cases)).

         Interestingly, Plaintiff does not address Sony Mobile’s “center of gravity” argument, but

  rather merely tries to distinguish the cited cases on factual bases. Any distinguishing elements of

  the cited cases do not obviate the indisputable fact that no aspect of the design or development of

  the Accused Products occurred in the Southern District of Florida. As the Accused Products

  were developed in California, the operative facts of this litigation and this matter’s “center of



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  gravity” is located there, and, accordingly, Plaintiff’s choice of forum is entitled to less

  deference. As noted by Judge Middlebrooks, “where the inventor of the patent-in-suit resides in

  Florida, the recent creation of Plaintiff as an entity solely to license the patent and enforce the

  patent in litigation here does not carry weight.” See Rothschild Digital Media Innovations, No.

  14-cv-22134-MIDDLEBROOKS, ECF No. [22], at *7 (citing In re Microsoft Corp., 630 F.3d

  1361, 1365 (Fed. Cir. 2011)). Therefore, Plaintiff’s choice of forum is not entitled to substantial

  deference. Based upon these facts, the Court finds that these factors heavily favor transfer to the

  Northern District of California, despite Plaintiff’s initial choice of forum.

         C.      The Relative Means of the Parties

         At first blush, the relative means of the parties’ factor appears to weigh in favor of

  retaining the action as Sony Mobile is a large corporate entity and Plaintiff is not. However,

  Plaintiff and related entities owned and operated by the ‘797 Patent’s inventor have filed over

  twenty separate lawsuits in districts other than this one, demonstrating a willingness to litigate

  patents elsewhere. See Wynne Decl., ECF No. [30-3] at ¶¶ 15-17. Thus, this factor only

  marginally supports a denial of transfer.

         D.      Public Interest Factors and the Interests of Justice

         The final pertinent factor requires the Court to examine, based on the totality of the

  circumstances, trial efficiency and the interests of justice, as well as several other public interest

  factors including,

                 the administrative difficulties flowing from court congestion; the
                 local interest in having localized controversies decided at home;
                 the interest in having the trial of a diversity case in a forum that is
                 at home with the law that must govern the action; the avoidance of
                 unnecessary problems in conflict of laws, or in the application of
                 foreign law; and the unfairness in burdening citizens in an
                 unrelated forum with jury duty.



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  Trace-Wilco, 2009 WL 455432, at *2 (quoting Piper Aircraft, 102 S. Ct. at 241 n.6). An

  examination of these interests does not substantially favor either position and, therefore, these

  factors remain neutral in the Court’s analysis.

         Plaintiff implores the Court to impart great significance to maintaining this action here, in

  Plaintiff’s home forum. However, as previously discussed, other than Plaintiff’s incorporation in

  the State of Florida and very recent acquisition of the patent at issue, this matter does not present

  a case where Florida has a substantial interest. The burden imposed upon the Northern District

  of California’s citizens is light, given that the California district has a substantial interest in

  adjudicating controversies involving a corporation employing hundreds of California residents.

  Further, the issue is governed by federal law and jurisdiction of the federal courts is not based on

  diversity. Thus, no problems related to the governing law are raised by the transfer of this matter

  to the Northern District of California. Ultimately, the public interest factors and the interests of

  justice favor transfer. The center of the alleged infringement, related parties, and the community

  with the most interest in the matter is not the Southern District of Florida. See Trace-Wilco,

  2009 WL 455432, at *4 (finding that transfer would serve the interests of justice where the

  center of the accused activity occurred in the transferee district); see generally ShadeFX

  Canopies, Inc. v. Country Lane Gazebos, LLC, No. 13-80239-CIV, 2013 WL 9827411, at *3

  (S.D. Fla. June 14, 2013) (citing 15 Wright, Miller & Cooper, Federal Practice and Procedure:

  Jurisdiction and Related Matters § 3854 at 246-47 (3d ed. 2007) (“a number of federal courts

  have considered this factor decisive—outweighing the other statutory factors”)).

         E.      Other Considerations

         Lastly, Plaintiff asserts that the pendency of the seven related actions in this District

  creates practical problems with transfer, rendering a possible scenario where two different courts



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  adjudicate the matter. The Federal Circuit has stated that “the existence of multiple lawsuits

  involving the same issues ‘is a paramount consideration when determining whether a transfer is

  in the interest of justice.’” In re Vicor Corp., 493 F. App’x 59, 61 (Fed. Cir. 2012) (quoting In re

  Volkswagen of Am., Inc., 566 F.3d 1349, 1351 (Fed. Cir. 2009)). However, this consideration is

  not nearly as prominent given the fact that defendants in all but one of the cases pending before

  this Court have moved for transfer on similar grounds.            See supra, at 3 n.2.     Moreover,

  “multidistrict litigation procedures exist to mitigate inefficiencies in this type of situation.” In re

  Apple, Inc., 581 F. App’x 886, 889 (Fed. Cir. 2014) (citing In re EMC Corp., 677 F.3d 1351,

  1360 (Fed. Cir. 2012) (“Common pretrial issues of claim construction and patent invalidity may

  also be adjudicated together through the multidistrict litigation procedures of 28 U.S.C. §

  1407.”)). For these reasons, the Court also finds that post-claim-construction transfer will not

  increase judicial efficiency.5

                                          IV. CONCLUSION

         Balancing the aforementioned elements, the Court finds that transfer to the Northern

  District of California is warranted. The alternative forum is not only an appropriate forum, but

  significantly more appropriate given the fact that the core of activity surrounding the design,

  development, and production of the Accused Products occurred there. Plaintiff’s ties to this

  forum are tenuous; it does not conduct business in the forum, but was merely formed in order to

  license and litigate the patent at issue, which was acquired a mere two weeks prior to

  commencing this action. On the other hand, the Northern District of California has significant



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    Additionally, the claim construction process may be conducted on a rolling basis, that is, a
  presiding court may “revisit[] and alter[] its interpretation of the claim terms as its understanding
  of the technology evolves.” Pressure Products Med. Supplies, Inc. v. Greatbatch Ltd., 599 F.3d
  1308, 1316 (Fed. Cir. 2010) (quoting Pfizer, Inc. v. Teva Pharm., USA, Inc., 429 F.3d 1364,
  1377 (Fed. Cir. 2005)). Therefore, construction of the claims is best resolved by a single court.
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  ties to the Accused Products and can otherwise be deemed the “center of gravity” for this patent

  infringement action.

         Accordingly, Defendant Sony Mobile Communications (USA) Inc.’s Motion to Transfer

  Pursuant to 28 U.S.C. § 1404(a), ECF No. [30], is GRANTED. The Clerk is directed to

  TRANSFER this case to the United States District Court for the Northern District of California.

  Upon transfer, the Clerk shall CLOSE this case.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 14th day of January, 2015.




                                                     ____________________________________
                                                     BETH BLOOM
                                                     UNITED STATES DISTRICT JUDGE

  Copies to:
  Counsel of Record




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